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CATHERINE M. JONES,

Plaintiff,
vs. No. 05-217l-B/V
THOMAS J. RIDGE, SECRETARY,
UNITED STATES DEPT. OF
HOMELAND SECURITY,

Defendants.

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ORDER GRANTING LEAVE TO PROCEED § FORMA PAUPERIS
ORDER DENYING MOTION FOR APPOINTMENT OF COU'NSEL
AND
ORDER TO AMEND COMPLAINT

 

The plaintiff has filed a complaint for discrimination against
the United States Department of Homeland Security With an
application to proceed in forma pauperis under 28 U.S.C. § lSlE(a).
The motion to proceed in forma pauperis is granted.

The Clerk shall file the case without payment of the filing
fee and record the defendant as Thomas J. Ridge, Secretary, United
States Department of Homeland Security. The Clerk shall not issue
process or serve any papers until further ordered by the Court.

With regard to the motion for appointment of counsel, two
statutes authorize the district Court to request or appoint
counsel for an indigent Title VII plaintiff. Twenty-eight U.S.C.

§ 1915(d) provides that the "court may request an attorney to

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represent any such person unable to employ counsel."l Similarly,
under 42 U.S.C. § 2000e-5(f)(l), “upon application by the
complainant and in such circumstances as the court may deem just,
the court may appoint an attorney.rl An employment discrimination
plaintiff has no constitutional or statutory right to appointed
counsel. Moore v. Sunbeam Corp., 459 F.2d 811 (Tth Cir. 1972).
Generally, a court Will only appoint counsel in exceptional
circumstances. Willett v. Wells, 469 F. Supp. 748, 751 (E.D. Tenn.
1977). Although "no comprehensive definition of exceptional
circumstances is practical," Branch v. Cole, 686 F.2d 264, 266 (Bth
Cir. 1982), courts resolve this issue through. a fact~specific
inquiry. Wilborn v. Escalderon, 789 F.2d 1328, 1331 (9th Cir.
1986). Examining the pleadings and documents in the file, the
court analyzes the merits of the claims, the complexity of the
case, the ppg §§ litigant's prior efforts to retain counsel, and
his ability to present the claims. Henrv v. City of Detroit
Manpower Dept., 763 F.Zd 757, 760 (6th Cir. 1985); Wiggins v.
sargenc, 753 F.2d 663, 663`(sth cir. 1935).

A review of this complaint indicates that the case is not so
complex that the court should exercise its discretion to appoint
counsel at this time. Plaintiff appears to understand the facts
and.applicable law sufficiently to represent herself. Furthermore,

it does not appear from the affidavit supporting her motion that

 

l However, "§ 19l5(d) does not authorize the federal courts to make

coercive appointments of counsel" to represent indigent civil litigants. Mallard
v. United States District Court for the Southern District of Iowa, 490 U.S. 296,
310 (1989) .

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she will be unable to obtain counsel on her own. The motion is
denied, without prejudice to its resubmission at a later time if
the plaintiff makes a more adequate showing of the need for counsel
and her inability to find a lawyer who will accept her case on a
contingent fee basis.

Plaintiff alleges in her complaint that she filed a formal
charge of discrimination on May 5, 2003. She alleges that the
Equal Employment Opportunity Commission issued a Notice of Right to
Sue on November 6, 2003. Plaintiff’s complaint contains
allegations of acts of discrimination which occurred on unspecified
dates in 2002, 2003, and 2004; in October and November of 2003, and
in March and November of 2004. Many of these actions apparently
occurred after the charge of discrimination was filed.

Plaintiff’s attachments to the complaint include a “Notice of
Right to File,” dated November 6, 2003, which references
plaintiff's charge no. TSA-03-123l, filed May 5, 2003 for reprisal
and sex discrimination. The Notice advised plaintiff of her right
to file a formal complaint of discrimination with the
Transportation Security Administration, Office of Civil Rights,
within 15 calendar days of her receipt of the Notice. The Notice
is not a final agency decision.

Plaintiff also attached a copy of an “Order Granting Agency's
Motion to Dismiss," issued by Administrative Judge David R. Treeter
of the United States Equal Employment Opportunity Commission
{EEOC), dated February 10, 2005, which refers to two additional

charges. Plaintiff has not attached a copy of those charges or any

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document which details the acts of discrimination raised in those
charges. Judge Treeter dismissed the formal complaint on charge
no. TSA-03-1019 as untimely. Judge Treeter further noted that
plaintiff had timely filed a second complaint on charge no. TSA-03-
0294 which was not consolidated with charge no. TSA-03-1019.
However, charge no. TSA~03-0294 remained, pending investigation, at
the time charge no. TSA-O3-1019 was dismissed.
The order contained the following language:

This is a decision by an Equal Employment Opportunity
Commission Administrative Judge issued pursuant to 29
C.F.R. § 1614.109(b), lO9(g) Or lO9(I). With the
exception detailed below the Complainant may not appeal
to the Equal Employment Opportunity directly from this
decision. Equal Employment Opportunity Commission
regulations require the Agency to take final action on
the complaint by issuing a final order notifying the
Complainant whether or not the Agency will fully
implement this decision within forty (40) calendar days
of receipt of the hearing and file and this decision.
The Complainant may appeal to the Equal Employment
Opportunity Commission within thirty (30) calendar days
of receipt of the Agency's final order. The Complainant
may file an appeal whether the Agency decides to fully
implement this decision or not.

The Agency's final order shall also contain notice of the
Complainant’s right to appeal to the Equal Opportunity
Commission, the right to file a civil action in federal
district court, the name of the proper defendant in any
such lawsuit and the applicable time limits for such
appeal or lawsuit. If the final order does not fully
implement this decision, the Agency must also
simultaneously file an appeal to the Equal Employment
Opportunity Commission in accordance with 29 C.F.R. §
1614.403, and append a copy of the appeal to the final
order. A copy of EEOC Form 573 must be attached. A copy
of the final order shall also be provided by the Agency
to the Administrative Judge.

If the Agency has not issued its final order within forty
(40) calendar days of its receipt of the hearing file and

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this decision, the Complainant may file an appeal to the

Equal Employment Opportunity Commission directly from

this decision. In this event, a copy of the

Administrative Judge's decision should be attached to the

appeal. The Complainant should furnish a copy of the

appeal to the Agency at the same time it is filed with

the Equal Opportunity Commission, and should certify to

the Equal Employment Opportunity Commission the date and

method by which such service was made on the Agency,

For federal employees, exhaustion of administrative remedies
is a jurisdictional prerequisite. Williams v. Rice, 983 F.2d 177,
180 (lOth Cir. 1993). Plaintiff filed this complaint on March 3r
2005. Her complaint and attachments do not demonstrate that she
has fully exhausted her administrative remedies on charge no. TSAj
03-1019, charge no. TSA-03-0294, or charge no. TSA-03-123l before
filing this complaint.

With regard to charge no. 18A-03-1019, plaintiff has not
attached a copy of the final order of the Agency and has not
alleged whether she appealed that final order to the EEOC.
Plaintiff has not attached a copy of any Notice of Right to Sue
issued by the EEOC.

With regard to charge no. TSA-03-0294, plaintiff has not
attached a copy of any final decision or Notice of Right to Sue
issued by either the Agency or by the EEOC.

With_ regard. to charge no. TSA-03-l23l, plaintiff has not
attached a copy of any final agency decision or Notice of Right to
Sue issued by either the Agency or the EEOC.

Plaintiff has at this point failed to state a cause of action

that would warrant an answer from the defendant. She is therefore

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directed to amend her complaint to show she has fully exhausted her
administrative remedies on each of the three charges referred to in
this complaint. The amendment must be typed or hand-printed on 8
% by ll inch paper, one side to a sheet. The plaintiff must
personally sign the amendment. Plaintiff must also attach all
supporting documents for each of the three charges which
demonstrate that she exhausted her administrative remedies On all
charges and that this complaint was filed within the time limits
prescribed by law.

Plaintiff must file an amended complaint within twenty (20)
days of the docketing of this order. A failure to timely comply
with any requirement of this order will result in the dismissal of
any claim for which the plaintiff fails to respond or of the

complaint in its entirety.

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IT Is so oRDERED this 2¢= day o uiy, 2005.

. ANIEL BREEN \
fED STATES DISTRICT JUDGE

 

 

 

 

    
 

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Notice of Distribution

This notice confirms a copy cf the document docketed as number 4 in
case 2:05-CV-02171 Was distributed by fax, mail, or direct printing on
luly 28, 2005 tc the parties listed.

 

Catherine M. J ones
6455 Mcriah Run7 #106
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chcrable J. Breen
US DISTRICT COURT

